        Case 3:16-cr-00220-AWT Document 302 Filed 04/20/18 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

  UNITED STATES OF AMERICA                 :      Crim. No. 3:16CR220 (AWT)
                                           :
         v.                                :
                                           :
  DAVID DEMOS                              :      April 20, 2018

               GOVERNMENT’S MOTION TO DISMISS COUNT THREE

       The Government hereby respectfully moves the Court to dismiss Count Three of the

Superseding Indictment with prejudice.

                                               Respectfully submitted,

                                               JOHN H. DURHAM
                                               UNITED STATES ATTORNEY

                                                          /s/
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         Case 3:16-cr-00220-AWT Document 302 Filed 04/20/18 Page 2 of 2



                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 20, 2018, a copy of the foregoing was filed electronically.

Notice of this filing will be sent by e-mail to all parties by operation of the Court’s electronic

filing system.   Parties may access this filing through the Court’s CM/ECF System.


                                                           /s/
                                                    JONATHAN N. FRANCIS
                                                    ASSISTANT UNITED STATES ATTORNEY




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